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Plaintiff, Sree
Vv. : No. 11 Civ. 8731 (PAC)
MICHAEL R. BALBOA and : ECF CASE
GILLES T. DE CHARSONVILLE, :
Defendants.
ae x

[PROPOSED] FINAL JUDGMENT ASTO “
DEFENDANT GILLES T. DE CHARSONVILLE

Plaintiff Securities and Exchange Commission (“Commission”) having filed a Complaint
against Defendant Gilles T. De Charsonville (“Defendant”) and moved for partial summary
judgment on its claims against Defendant after Defendant filed an Answer; and the Court having
granted the Commission’s motion by Opinion and Order entered July 6, 2015:

I.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the
Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5
promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of
interstate commerce, or of the mails, or of any facility of any national securities exchange, in
connection with the purchase or sale of any security:

(a) to employ any device, scheme, or artifice to defraud;
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(b) to make any untrue statement of a material fact or to omit to state a material fact
necessary in order to make the statements made, in the light of the circumstances
under which they were made, not misleading; or

(c) to engage in any act, practice, or course of business which operates or would
operate as a fraud or deceit upon any person.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).

II.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is
permanently restrained and enjoined from violating, directly or indirectly, Sections 206(1),
206(2), and 206(4) of the Investment Advisers Act of 1940 (“Advisers Act™) [15 U.S.C. §§ 80b-
6(1), 80b-6(2), and 80b-6(4)] and Rule 206(4)-8 promulgated thereunder [17 C.F.R. §
275.206(4)-8] by using the mails or any means or instrumentality of interstate commerce:

(a) to employ any device, scheme, or artifice to defraud any client or prospective
client;

(b) to engage in any transaction, practice, or course of business which operates as a
fraud or deceit upon any client or prospective client; or

(c) to engage in any act, practice, or course of business which is fraudulent,

deceptive, or manipulative.
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IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).

Ii.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is
permanently restrained and enjoined from violating, directly or indirectly, Rule 5210 of the
Financial Industry Regulatory Authority by publishing or circulating, or causing to be published
or circulated, any notice, circular, advertisement, newspaper article, investment service, or
communication of any kind which purports to report any transaction as a purchase or sale of any
security unless such member believes that such transaction was a bona fide purchase or sale of
such security; or which purports to quote the bid price or asked price for any security, unless
such member believes that such quotation represents a bona fide bid for, or offer of, such
security.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).

IV.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is liable

for disgorgement of $297,174, representing profits gained as a result of the conduct alleged in
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the Complaint, together with prejudgment interest thereon in the amount of $67,261.46, and a
civil penalty in the amount of $260,000 pursuant to 15 U.S.C. § 77u(d)(3) and 15 U.S.C, § 80b-
9(e). Defendant shall satisfy this obligation by paying $624,435.46 to the Securities and
Exchange Commission within 14 days after entry of this Final Judgment.

Defendant may transmit payment electronically to the Commission, which will provide
detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly
from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

cashier’s check, or United States postal money order payable to the Securities and Exchange
Commission, which shall be delivered or mailed to

Enterprise Services Center

Accounts Receivable Branch

6500 South MacArthur Boulevard

Oklahoma City, OK 73169
and shall be accompanied by a letter identifying the case title, civil action number, and name of
this Court; Gilles T. De Charsonville as a defendant in this action; and specifying that payment is
made pursuant to this Final Judgment.

Defendant shall simultaneously transmit photocopies of evidence of payment and case
identifying information to the Commission’s counsel in this action. By making this payment,
Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part
of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant
to this Final Judgment to the United States Treasury.

The Commission may enforce the Court’s judgment for disgorgement and prejudgment
interest by moving for civil contempt (and/or through other collection procedures authorized by

law) at any time after 14 days following entry of this Final Judgment. Defendant shall pay post

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judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.
V.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

Dated: July /¢ 2015
New York, New York

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UNITED STATES DISTRICT COURT JUDGE

